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                          IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

     JUAN LOZADA-LEONI,             §
                                    §
           Plaintiff,               §
                                    §
       vs.                          §
                                    §                      Civil Action No. 4:20-cv-68
     MONEYGRAM INTERNATIONAL, INC., §
     and MONEYGRAM PAYMENT          §
     SYSTEMS, INC.,                 §
           Defendants.              §
                                    §
                                    §


   INTERVENOR KLG’S MOTION FOR LEAVE TO FILE ITS ORIGINAL COMPLAINT
                        FOR ATTORNEY’S FEES




          Intervenor KLG, by and through its counsel, hereby files this Motion for Leave to File Its

   Original Complaint for Attorney’s Fees against Plaintiff Juan Lozada-Leoni pursuant to Federal

   Rule of Civil Procedure 3 and, in support thereof, states the following:

      1. KLG represented Plaintiff in the above-captioned matter and provided legal services to

          Plaintiff from July 2016 to mid-April 2020.

      2. Plaintiff has failed to pay for such services.

      3. Based on Plaintiff’s failure to pay for services rendered by KLG, KLG moves to file its

          Original Complaint alleging breach of contract and quantum meruit claims.

      4. The proposed Original Complaint is attached hereto as “Exhibit A.”

      5. Rule 3 provides that a civil action is commenced by filing a complaint with the court.




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      6.    The allegations contained in KLG’s Original Complaint will not complicate the

           underlying litigation by excessive multiplication of the issues.

      7. Further, the filing of the Original Complaint is essential to protect KLG’s interest.

      8. Accordingly, Intervenor KLG respectfully requests that the Court grant KLG leave to file

           its Original Complaint for Attorney’s Fees.



                                                         Respectfully submitted,



                                                         /s/ Steve Kardell
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                                                         ATTORNEY FOR INTERVENOR




                                     CERTIFICATE OF CONFERENCE

          During the week of 12/07/2020, I conferred by email with Susan Hutchison, counsel for
      Plaintiff, in the manner required under Local Rule 7(h) regarding the relief requested herein.
      Plaintiff is opposed to the relief requested herein.
                                                         /s/ Steve Kardell

                                     CERTIFICATE OF SERVICE

           I hereby certify that the foregoing document has been submitted, by electronic means, to


   INTERVENOR KLG’S MOTION FOR LEAVE TO FILE COMPLAINT FOR ATTORNEY’S FEES

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      all counsel of record on December 14, 2020.
                                                    /s/ Steve Kardell




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